Case 3:17-cv-00072-NKM-JCH Document 286 Filed 03/22/18 Page 1 of 2 Pageid#: 2018




                          IN TH E UNITED STATES DISTRICT COURT
                         FO R TH E W ESTER N D IST RICT O F V IR G IN IA
                                CH A R LO TTESVILLE D IV ISIO N

  Elizabeth Sines etal,

                           Plaintiffts)
  V.                                                 CivilA ction N o.3:17-cv-00072

  Jason K essler etal,

                           Defendantts).

                                C LER K 'S EN TR Y O F DE FA U LT

         The above action wasfiled in this Coul'ton March 14,2018. The Defendantts)East
  CoastKnightsoftheKu Klux Klan was/wereselwed on the following dates,and the Plaintiffhas
  provided to the courtan affidavit and/or other evidence demonstrating proper service of the
  complainton Defendantts):

  EastCoastKnightsoftheKu Klux Klan              February 1,2018
                                                                       '   .
                                                                       .




         Thetimeforthe defendantts)toappear,answerorothenyisedefendhaving expired,the
  tmdersignedClerkdoesherebyenterdefaultastothefollowingdlfendantts):
                                                                   )
                               EastCoastKnightsoftheKu Klux Klàn


         SeeFederalRulesofCivilProcedure,Rule55(a).
         CopiesofthisEntry ofDefaultshallbeprovided to a1lcounselofrrcôtd arïdtothe
  Defendantts).

                                                    JIJLIA c.bfm tzEv,ct,Elut
                                                                               .   . '
                                                                                         '
                                                    By:                                      .
                                                          D   ty           erk
'
             u w o o w w w u
         :                h
         ' ol
           N ,<
              l
              -
              lI
               #*
                n  Case
                *- mc
                   tr
                    )t
                     'q
                      p  3:17-cv-00072-NKM-JCH
                        Kk' ,                  Document 286 Filed 03/22/18 Page 2 of 2 Pageid#: 2019
              << t cot
                     oy
                      x  .            '
   k % s.= tocu                  .
      c *O
         * L.;* to           -
 .' ,
      W a.@)
           y- & o            -
 ï .     w
         rarxr (o/)          C
                             :; .                     02
                                                      .

    '>           r - (N                               rl
    '
    j
    é                   f'
                        oO            .
                                      '               >w
                                                        r
    1                            .                    (h
    ,
    #    .
                         u.osa       !.
                                     ,
                                     **
                                                      eq         <)
                                                      -4..
                                                                 tfJ
 .  f                                                 :1         lz:
                                                                   1
                                                      1)
 f
 1
                                                      d)
                                                      4)
                                                                 14J
 l                                                               p;c.
                                                                    t
                                                             (y:..f).
                                                                  f..);,
                                                                       '
                                                                       ,.
                                                                       p'
,)k                                                                   aJ
k
                                                             /a.
                                                               l
                                                               -9
                                                             !:<::j;    .
';'
j                                                              u.':,.
                                                             zè,
                                                              '':
                                                               . 'jj.j!
                                                                      v,
                                                                       4
                                                                       s.
                                                                        j
                                                            f14 iv
                                                          .. t..41:
h
'
;                                                     4-# . ïei #3.
@
J
f                                                            (..s-.
                                                                  ,..l
                                                                     ,fw4j,
                                                                          ej
l
                                                             j.  s.m.  1je,
                                                                     U 3
                                          Q
                                          .                  i
                                                                   '
                                                             $'.<':t;l
                                                         î:4,.:$7..-j
                                          >t          (5 .ceD.Itbo
                                          R
                                          -           $1% j.,..c; e,f4.
                                                                      f
                                          =           ed 1. .b4:;r
                                                            4 :      ..
         '
         d!       ç 0
                  r.w
                                          >               l,k.:...1,
                                                                   ..
                                                                    .)t
                                                               t?
                                                                .)
         P
         Q
         k.'      4.
                   '*                     X
                                                              '
                                                               f:)
         ,.u . X                          =w
         Z Px:y< .
         rA
         ('
                 =.
           1 rxJ -*
                 z- fq.
                                          V-
                                          &           l1J
                                                               lq'
                                                               ï:).
                                               Z .    F1        7:
                                                                 .
         r
         ''
          ej'u
          .  <;m a.
                 r                             X m    >t
         I
         l, e, v
               j
               .j jk,
                    ,                     r œ >       1-4
                                                        .1
                                          r œ          J#
                                                       *
                                          = LQ m
                                               <
                                          (t =
                                          Qo
                                                 c:
                                            D <'- a
                                                                               I.
                                                                                t
                                                                               1,
                                                                                 .
                                                                                r.
                                                                                  u
                                                                                  (
                                                                                 ,.
                                                                                   y
                                                                                   jy
                                                                                  ,a
                                               oD                              ;,
                                                                                ;n        '
                                           4
                                           :  =  =                             lM.
                                                                                 i
                                                                                 #.
                                                                                  1
                                                                                  /,
                                           çt ko œ
                                          m eu y                                         j'
                                                                                          >
                                                                                      l1
                                                                                      1lj
                                                                                      (/)
                                                                                      I*
                                                                                       1.
                                                                                        $
                                                                                      .z-9




                                                                               'f
                                                                                1
                                                                                %
                                                                                7
                                                                               I
                                                                               i
                                                                               .)


                                                                               st-l
                                                                               i'n
                                                                               1.
                                                                                !;
                                                                                 ''
                                                                                  hI.,
                                                                               tt,l)
                                                                               .$
                                                                               , M
                                                                               i>
                             0                                                  f';h.
                                                                                INI
                             X                                                  I.5
                             O                                                 631
                             O




                                                                                              t
